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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

NATIONAL LIABILITY & FIRE                  )
INSURANCE CO., as Subrogee of              )
V Trust Carriers, Inc.,                    )
                                           )
                    Plaintiff,             )
                                           )
vs.                                        )       Case No. 18-cv-1303-MJR-RJD
                                           )
USF HOLLAND,                               )
                                           )
                    Defendant.             )

                     ORDER ACKNOLWEDGING PLAINTIFF’S
                      VOLUNTARY DISMISSAL OF ACTION

REAGAN, Chief Judge:

      Federal Rule of Civil Procedure 41(a)(1)(A) permits dismissal of a case without a

court order by two methods: (i) the plaintiff files a notice of dismissal before the

opposing party serves an answer or summary judgment motion; or (ii) the plaintiff files

a stipulation of dismissal signed by all parties who have appeared. In the instant case,

Plaintiff National Liability & Fire Insurance Company has filed a notice of voluntary

dismissal that fits within the first method. Defendant USF Holland moved to dismiss

the case but has neither answered nor moved for summary judgment.

      Given the procedural posture of the case, voluntary dismissal is Plaintiff's right,

and the Court need take no further action. The notice effected the dismissal of this suit.

See, e.g., Kuznar v. Kuznar, 775 F.3d 892, 896 (7th Cir. 2015) (Rule 41(a)(1)(A) dismissal

notice is self-executing and effective without action by the court); National Inspection

& Repairs, Inc. v. George S. May Intern. Co., 600 F.3d 878, 883 (7th Cir. 2010)


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("Claims dismissed pursuant to Rule 41(a)(1) are complete on the dismissal without

any action by the district judge."); Szabo Food Service, Inc. v. Canteen Corp., 823 F.2d

1073, 1078 (7th Cir. 1987)(a Rule 41(a)(1)(i) dismissal terminates the case "all by itself,"

and there “is nothing left to adjudicate”), cert. denied, 485 U.S. 901 (1988).

       This Order is entered only to acknowledge that Plaintiff’s Rule 41(a)(1)(A)(ii)

dismissal effected the immediate dismissal of this suit, such that the clock has been

turned back and “the plaintiff’s lawsuit had never been brought.”                Nelson v.

Napolitano, 657 F.3d 586, 587-88 (7th Cir. 2011). The notice of voluntary dismissal

specifies that dismissal is without prejudice. All previously-set deadlines and hearings

are canceled, the Clerk of the Court shall close this case, and no judgment shall be

entered.

       IT IS SO ORDERED.

       DATED: October 30, 2018

                                                 s/ Michael J. Reagan
                                                 Michael J. Reagan
                                                 United States District Judge




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